             Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 1 of 15




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


ANNA ANDERSON,                       )
 8913 Gladeside Drive                )               Case No. 1:23-cv-2674
 Clinton, Maryland 20735             )
                                     )               DEMAND FOR JURY TRIAL
        Plaintiff,                   )
                                     )
        v.                           )
                                     )
MERRICK G. GARLAND,                  )
in his official capacity as Attorney )
General of the United States         )
Department of Justice,               )
  950 Pennsylvania Avenue, NW        )
  Room 1111                          )
  Washington, DC 20530               )
                                     )
        Defendant.                   )
___________________________________ )

                                          COMPLAINT

        Plaintiff Anna Anderson (“Ms. Anderson”), for her complaint against Defendant Merrick

B. Garland, in his official capacity as Attorney General of the Department of Justice (“Defendant

DOJ”), states the following:

        1.       Ms. Anderson brings this action to seek redress for the wrongful employment

actions taken against her by Defendant DOJ, which caused and continues to cause her substantial

harm.

        2.       Although Ms. Anderson had an exemplary work record spanning nearly ten years,

Defendant DOJ initiated a retaliatory campaign against her when she declined her immediate

supervisor’s request to retract a race-based discrimination complaint she had lodged against a

prior supervisor. The hostility from Defendant DOJ intensified after Ms. Anderson complained

about the supervisor’s request. Defendant DOJ’s retaliatory actions included:

                                           Page 1 of 15
             Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 2 of 15




        a) Deliberately assigning Ms. Anderson a subpar performance rating, making her
           ineligible for performance rewards and growth opportunities;
        b) Overburdening Ms. Anderson with a workload significantly heavier than that of her
           peers;
        c) Implementing disciplinary measures against Ms. Anderson, negatively affecting her
           salary and promotion prospects;
        d) Overlooking Ms. Anderson for promotions; and
        e) Ultimately terminating her employment.

        3.       Ms. Anderson’s claims arise under Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. §§ 2000e to 2000e-17.

                                  JURISDICTION AND VENUE

        4.       The Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1343

because this case involves questions of federal law and because Ms. Anderson seeks damages for

violations of her civil rights.

        5.       Venue is proper in this judicial district under 42 U.S.C. § 2000e-5(f)(3) because

the unlawful employment practice was committed in this judicial district, the relevant

employment records are maintained in this judicial district, and this judicial district has a

substantial connection to Ms. Anderson’s claims. Venue is also proper in this judicial district

under 28 U.S.C. § 1391 because a substantial part of the events giving rise to the claims herein

occurred within this judicial district.

                                          THE PARTIES

        6.       Plaintiff Anna Anderson is an African American female who was employed by

Defendant DOJ as a Program Operations Specialist in its Office of Justice Programs (“OJP”),

with a post of duty in Washington, DC. Ms. Anderson’s first-line supervisors in the OJP were

Barry Bratburd (from 2010 to 2018) and Jennifer Scherer (from 2018 to 2020). Ms. Anderson

resides in Prince George’s County, Maryland.




                                            Page 2 of 15
            Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 3 of 15




       7.       Defendant is Merrick Garland is the Attorney General of the United States

Department of Justice (“DOJ”), the federal agency responsible for enforcing federal laws and

ensuring the fair and impartial administration of justice. Mr. Garland is the proper party in

actions against the DOJ that allege violations of civil rights in the workplace.

                      EXHAUSTION OF ADMINISTRATIVE REMEDIES

       8.       On July 30, 2019, Ms. Anderson imitated contact with an EEO Counselor

regarding the claims at issue.

       9.       On October 23, 2019, the EEO Director notified Ms. Anderson of her right to file

a formal complaint.

       10.      On November 15, 2019, Ms. Anderson filed an EEO complaint for unlawful

discriminated based on race, age, sex, and religion (Agency Case No. OJP-2019-01141) (the

“EEO Complaint”).

       11.      On November 27, 2020, Ms. Anderson requested a hearing on the EEO

Complaint.

       12.      On August 1, 2022, an EEOC Administrative Law Judge dismissed Ms.

Anderson’s request for a hearing and remanded her EEO Complaint to Defendant DOJ for a final

agency decision.

       13.      On August 11, 2022, Defendant DOJ’s Complaint Adjudication Office confirmed

that it had received Ms. Anderson’s EEO Complaint and that a final decision would be rendered

“as soon as possible.”

       14.      Defendant DOJ has not yet entered a final decision on Ms. Anderson’s EEO

Complaint. Ms. Anderson may now properly seek relief in federal district court on the EEO

Complaint because more than 180 days have elapsed since the date the complaint was filed.



                                            Page 3 of 15
          Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 4 of 15




        15.      Ms. Anderson has fully complied with all prerequisites for this Court to assume

jurisdiction over this action.

                                     BACKGROUND FACTS

        16.      In 2008, Ms. Anderson began working for Defendant DOJ in its Justice

Management Division.

        17.      In 2010, Ms. Anderson transferred to Defendant DOJ’s Office of Justice

Programs. Her main responsibilities included, among other things, assisting and reviewing

contractor work performance, responding to Freedom of Information Act (FOIA) requests,

processing requests for approved equipment and supplies, and tracking government purchase

card requests.

        18.      In 2016, 2017, and 2018, Ms. Anderson received a rating of “Exceeded

Expectations” on each of her performance appraisal records for the respective rating period. Ms.

Anderson also received monetary awards and time-off awards during the rating periods based on

her stellar work performance.

        19.      From 2016 through 2020, Barry Bratburd (“Mr. Bratburd”) and Jennifer Scherer

(“Ms. Scherer”) served as Ms. Anderson’s first-line supervisor and second-line supervisor,

respectively. During this period, Barry Bratburd was employed by Defendant DOJ as a

Supervisory Program Manager, and Ms. Scherer was his first-line supervisor. Ms. Scherer was

employed by Defendant DOJ as a Principal Deputy Director and Chief of Staff at the National

Institute of Justice (“NIJ”).

        20.      In 2016, Ms. Anderson filed an EEO complaint against Mr. Bratburd, alleging

unlawful discrimination.




                                            Page 4 of 15
          Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 5 of 15




       21.     In August 2017, Ms. Scherer became Ms. Anderson’s first-line supervisor, and

thereafter continued to serve as Ms. Anderson’s first-line supervisor until April 2020—the date

Ms. Anderson was terminated.

       22.     In July 2018, Ms. Scherer nominated Ms. Anderson for a Special Acts Award “for

[her] outstanding work on the records management project[,]” and informed Ms. Anderson that

she would also be receiving a $500 award.

       23.     In September 2018, Ms. Scherer asked Ms. Anderson to withdraw the EEO

complaint she previously filed against Mr. Bratburd in 2016. Ms. Scherer informed Ms.

Anderson that Mr. Bratburd was eligible for a GS-15 position and that his promotion could be

impacted by Ms. Anderson’s EEO complaint.

       24.     Ms. Anderson ultimately refused to withdraw the EEO complaint against Mr.

Bratburd. Thereafter, Ms. Scherer began to overly scrutinize Ms. Anderson’s performance and

take retaliatory action against her.

       25.     In February 2019, Ms. Scherer denied Ms. Anderson’s proposed telework/on-site

schedule for a specific week. Ms. Scherer did not provide Ms. Anderson with a reason for the

denial, nor did Ms. Scherer have a legitimate reason to deny the proposed schedule. Ms. Scherer

denied the proposed schedule submitted by Ms. Anderson because Ms. Anderson refused to

withdraw the EEO complaint she filed against Mr. Bratburd.

       26.     On February 26, 2019, the President of the American Federal of State, County and

Municipal Employee (“AFSCME”) Local 2830 (the “Union President”) sent an email to Ms.

Scherer to inquire about the decision to deny Ms. Anderson’s proposed telework/on-site schedule

for the following week. Immediately after receiving the email, Ms. Scherer informed Ms.




                                          Page 5 of 15
         Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 6 of 15




Anderson that she would no longer have her own cubicle because she teleworked from home

50% of the time.

       27.     On February 28, 2019, the Union President submitted a report to Defendant DOJ

alleging that Ms. Scherer was treating employees who withdrew or settled EEO complaints more

favorably than those who, like Ms. Anderson, refused to withdraw their EEO complaints. In her

report, the Union President noted that Ms. Anderson’s coworker, Sherran Thomas, teleworked

60% of the time but had never been approached by Ms. Scherer about the possibility of losing

her cubicle. Sherran Thomas previously filed two EEO complaints against Ms. Scherer but later

withdrew them, presumably in response to Ms. Scherer’s requests to do so.

       28.     On June 5, 2019, Ms. Scherer issued Ms. Anderson a rating of “Unacceptable

Performance” on her 2019 performance appraisal record, and placed Ms. Anderson on a 45-day

Performance Improvement Plan (commonly referred to as a “PIP”).

       29.     On Ms. Anderson’s midyear evaluation in June 2019, Ms. Scherer claimed that

completing tasks had been an ongoing issue for Ms. Anderson since December 1, 2018. Prior to

issuing the PIP, Ms. Scherer did not inform Ms. Anderson about any issues or concerns

regarding the completion of tasks. Ms. Scherer issued Ms. Anderson a poor performance rating

because Ms. Anderson refused to withdraw the EEO complaint she filed against Mr. Bratburd.

       30.     Ms. Scherer did not have a legitimate reason for issuing Ms. Anderson the poor

performance rating. Ms Scherer did not have a legitimate reason for placing Ms. Anderson on the

PIP.

       31.     On July 5, 2019, Ms. Scherer intentionally reassigned the work duties of another

employee to Ms. Anderson, saddling Ms. Anderson with a disproportionately heavy workload

relative to her coworkers. Ms. Scherer intentionally chose not to redistribute the work duties



                                           Page 6 of 15
         Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 7 of 15




equally amongst the coworkers, but instead reassigned all the work duties to Ms. Anderson. Ms.

Scherer reassigned all the work duties to Ms. Anderson because Ms. Anderson refused to

withdraw the EEO complaint she filed against Mr. Bratburd.

       32.     On July 30, 2019, Ms. Anderson submitted an EEO Pre-Complaint Intake Form to

Defendant DOJ that detailed, among other things, her belief that Ms. Scherer was retaliating

against her for participating in certain activities protected under federal law, namely filing an

EEO complaint and participating in the EEO process.

       33.     In August 2019, Ms. Scherer instructed Ms. Anderson to conduct a thorough

review of her purchase card records to confirm compliance with all applicable regulations. Ms.

Scherer implicitly accused Ms. Anderson of violating DOJ’s regulations with respect to

purchases made using her business card. Ms. Scherer did not instruct any other employees under

her supervision to conduct a thorough review of their purchase card records to confirm

compliance with all applicable regulations. Ms. Scherer did not have a legitimate reason for

instructing Ms. Anderson to perform the review. Ms. Scherer instructed Ms. Anderson to

perform the review because Ms. Anderson refused to withdraw the EEO complaint she filed

against Mr. Bratburd and because Ms. Anderson had recently submitted an EEO complaint

against Ms. Scherer.

       34.     The Union President reviewed the purchase card transactions made by Ms.

Anderson from 2016 through 2019. Upon completing the review, the Union President confirmed

that she could not find any errors committed by Ms. Anderson. The Union President further

stated that forgetting to attach a Standard Form 182 to a single transaction in 2019, if true, does

not rise to a performance issue unless it is repetitive and ongoing. The Union President informed




                                            Page 7 of 15
         Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 8 of 15




Ms. Scherer that it was the Union’s position that Ms. Scherer’s characterization of the purchase

card matter as a performance issue was abusive and unwarranted in light of the facts.

       35.     On or about September 5, 2019, Ms. Scherer placed Ms. Anderson on another 45-

day PIP. Ms. Scherer placed Ms. Anderson on the PIP because Ms. Anderson refused to

withdraw the EEO complaint she filed against Mr. Bratburd and because Ms. Anderson had

engaged with the DOJ’s EEO office regarding Ms. Scherer’s conduct.

       36.     On October 22, 2019, Defendant Scherer issued Ms. Anderson a Letter of

Reprimand for “continuously disregard[ing] the standards of courtesy and respect consistent with

[DOJ’s] rules[.]” Attached as Exhibit 1 is a true and correct copy of the Letter of Reprimand.

The Letter of Reprimand negatively impacted Ms. Anderson’s ability to receive pay incentives

and her opportunities for advancement. Ms. Scherer did not have a legitimate reason for issuing

the Letter of Reprimand to Ms. Anderson. Ms. Scherer issued the Letter of Reprimand because

Ms. Anderson refused to withdraw the EEO complaint she filed against Mr. Bratburd and

because Ms. Anderson had engaged with the DOJ’s EEO office regarding Ms. Scherer’s conduct.

       37.     On October 23, 2019, the DOJ’s EEO Director provided Ms. Anderson with a

Notice of Right to File a Discrimination Complaint.

       38.     In October 2019, Ms. Anderson sought treatment from a physician at Fort

Washington Family Care, P.C. for stress-related physical ailments, anxiety, and depression, all of

which were caused or aggravated by Ms. Scherer’s conduct in the workplace. Ms. Anderson’s

physician drafted a letter that detailed the extent of her medical-related conditions, a true and

correct copy of which is attached as Exhibit 2.

       39.     On or about November 1, 2019, Ms. Anderson provided Ms. Scherer with the

letter from her physician referenced above, which expressly excused Ms. Anderson from work



                                            Page 8 of 15
         Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 9 of 15




October 29, 2019 through December 2, 2019 due to medical reasons. After receiving the

physician’s note, Ms. Scherer waited more than 11 days to respond to Ms. Anderson. Ms.

Scherer intentionally delayed responding to Ms. Anderson’s request to be excused from work

because Ms. Anderson refused to withdraw the EEO complaint she filed against Mr. Bratburd

and because Ms. Anderson had engaged with Defendant DOJ’s EEO office regarding Ms.

Scherer’s conduct.

       40.     On November 12, 2019, Ms. Scherer entered an “Absence without Leave”

(AWOL) notation in Ms. Anderson’s time and attendance record for the time Ms. Anderson took

off work in accordance with the instructions from her physician. Ms. Scherer did not have a

legitimate reason for placing Ms. Anderson in an AWOL status. Ms. Scherer entered the AWOL

notation against Ms. Anderson because Ms. Anderson refused to withdraw the EEO complaint

she filed against Mr. Bratburd and because Ms. Anderson had engaged with the DOJ’s EEO

office regarding Ms. Scherer’s conduct.

       41.     On November 13, 2019, Ms. Scherer denied Ms. Anderson’s request to be

excused from work in accordance with the instructions from her physician, and Ms. Scherer

requested that Ms. Anderson provide more specific details about her medical condition.

       42.     On November 14, 2019, Ms. Anderson filed an EEO complaint against Ms.

Scherer that alleged, among other things, unlawful retaliation.

       43.     On or about November 12, 2019, Ms. Scherer issued a letter to Ms. Anderson that

claimed Ms. Anderson did not successfully complete the PIP. The letter failed to identify any

specific reasons that supported the decision, nor did the letter contain any objective criteria that

would justify the decision. The letter also did not inform Ms. Anderson of the minimum level of

performance needed that would have otherwise resulted in the successful completion of the PIP.



                                            Page 9 of 15
        Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 10 of 15




Attached as Exhibit 3 is a true and correct copy of the letter dated November 12, 2019. Ms.

Scherer did not have a legitimate reason to issue the letter to Ms. Anderson. Ms. Scherer issued

the letter to Ms. Anderson because Ms. Anderson refused to withdraw the EEO complaint she

filed against Mr. Bratburd and because Ms. Anderson had recently filed an EEO complaint

against Ms. Scherer.

       44.     On November 19, 2019, Ms. Anderson submitted a request to take annual leave

prior to the year’s end to avoid losing leave under Defendant DOJ’s “Use or Lose” leave policy.

       45.     On December 3, 2019, Ms. Scherer denied Ms. Anderson’s request to take annual

leave. Ms. Scherer did not deny the annual leave requests submitted by Ms. Anderson in prior

years. Ms. Scherer did not have a legitimate reason for denying Ms. Anderson’s leave request.

Ms. Scherer denied Ms. Anderson’s leave request in 2019 because Ms. Anderson refused to

withdraw the EEO complaint she filed against Mr. Bratburd and because Ms. Anderson had

recently filed an EEO complaint against Ms. Scherer.

       46.     On December 5, 2019, Ms. Scherer denied Ms. Anderson’s request to take sick

leave, despite Ms. Anderson presenting a note from her doctor to substantiate the need for sick

leave. Ms. Scherer did not have a legitimate reason for denying Ms. Anderson’s sick leave

request. Ms. Scherer denied Ms. Anderson’s request to take sick leave because Ms. Anderson

refused to withdraw the EEO complaint she filed against Mr. Bratburd and because Ms.

Anderson had recently filed an EEO complaint against Ms. Scherer.

       47.     On December 10, 2019, Ms. Scherer issued a Proposal to Remove Ms. Anderson.

Attached as Exhibit 4 is a true and correct copy of the Proposal to Remove. Ms. Scherer issued

the Proposal to Remove and took affirmative steps to terminate Ms. Anderson’s employment

with the Agency because Ms. Anderson refused to withdraw the EEO complaint she filed against



                                          Page 10 of 15
         Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 11 of 15




Mr. Bratburd and because Ms. Anderson had recently filed an EEO complaint against Ms.

Scherer. Ms. Scherer did not have a legitimate reason to propose terminating Ms. Anderson’s

employment.

       48.     From January 2020 through April 2020, Ms. Scherer persistently identified

alleged errors with Ms. Anderson’s work product. Ms. Scherer fabricated the errors to make it

appear as though Ms. Anderson was incompetent, in an effort to validate the Proposal to Remove

Ms. Scherer previously issued. Ms. Scherer fabricated the errors because Ms. Anderson refused

to withdraw the EEO complaint she filed against Mr. Bratburd and because Ms. Anderson had

recently filed an EEO complaint against Ms. Scherer.

       49.     On May 1, 2020, Defendant DOJ issued a letter to Ms. Anderson notifying that

her employment was terminated as of April 28, 2020. Attached hereto as Exhibit 5 is a true and

correct copy of the Termination Letter.

                                 Harm Suffered by Ms. Anderson

       50.     Ms. Scherer’s unlawful workplace conduct forced Ms. Anderson to endure a

retaliatory hostile work environment for nearly two years, which caused Ms. Anderson to suffer

financial harm, severe emotional distress, physical pain and suffering, and personal humiliation.

       51.     Ms. Anderson additionally underwent treatment for stress-related physical

ailments, anxiety, and depression that were directly tied to the persistent retaliatory actions taken

against her by Ms. Scherer. As part of the treatments, Ms. Anderson sought professional

counseling services, consumed prescription medications, and underwent physical therapy

sessions. Ms. Scherer’s actions significantly impacted Ms. Anderson’s mental health and

wellbeing, causing her to frequently seek medical treatment to cope with the high levels of

workplace, stress, anxiety, and trauma.



                                           Page 11 of 15
        Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 12 of 15




       52.      Ms. Scherer’s unlawful retaliatory conduct persisted despite Ms. Anderson’s

numerous EEO-related complaints and constant pleas for help.

                                         COUNT I
        Unlawful Retaliation in Violation of Title VII of the Civil Rights Act of 1964
       53.      Ms. Anderson incorporates herein by reference the allegations set forth in

paragraphs 1 through 52.

       54.      Title VII forbids an employer from retaliating against an employee because of the

employee’s opposition to “any practice made an unlawful practice” by Title VII, or the

employee’s participation in “an investigation, proceeding, or hearing under [Title VII].” 42

U.S.C. § 2000e-3(a).

       55.      Ms Anderson engaged in protected activities under Title VII by, among other

things: (a) filing an EEO complaint against Mr. Bratburd that alleged violations of Title VII; (b)

making EEO-related complaints to Local 2830 about Ms. Scherer’s conduct; (c) and filing an

EEO complaint against Ms. Scherer that alleged unlawful discrimination and retaliation.

       56.      After engaging in the protected activities referenced above, Ms. Scherer took

several actions against Ms. Anderson that materially impacted the terms and conditions of her

employment, including but not limited to:

             a) Denying Ms. Anderson’s telework/on-site schedule (¶ 24);
             b) Threatening to remove Ms. Anderson from her cubicle (¶ 25);
             c) Placing Ms. Anderson on multiple Performance Improvement Plans (¶¶ 28 and
                35);
             d) Issuing Ms. Anderson poor performance evaluations (¶ 29);
             e) Assigning a disproportionate amount of work to Ms. Anderson relative to her
                colleagues (¶ 31);
             f) Issuing a reprimand to Ms. Anderson (¶ 36);
             g) Denying Ms. Anderson’s leave requests (¶¶ 45 and 46); and
             h) Terminating Ms. Anderson’s employment (¶ 49).

       57.      The actions taken by Ms. Scherer would likely dissuade a reasonable employee in

Ms. Anderson’s position from engaging in activity protected under Title VII.

                                            Page 12 of 15
         Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 13 of 15




       58.     The actions taken by Ms. Scherer were motivated by: (a) Ms. Anderson’s refusal

to withdraw the EEO complaint she filed against Mr. Bratburd; (b) the complaints Ms. Anderson

made to Local 2830 that alleged wrongful conduct on the part of Ms. Scherer; and (c) the EEO

complaint Ms. Anderson filed against Ms. Scherer. A very close temporal proximity existed

between each of the actions taken by Ms. Scherer and the protected activities that Ms. Anderson

engaged in.

       59.     Ms. Scherer’s actions were intentional and done with a reckless disregard for Ms.

Anderson’s right to be free from unlawful retaliatory conduct in the workplace.

       60.     As a direct and proximate cause of Ms. Scherer’s conduct, Ms. Anderson has

suffered and continues to suffer harm.

                                           COUNT II
                           Retaliatory Hostile Work Environment,
                    in Violation of Title VII of the Civil Rights Act of 1964
       61.     Ms. Anderson incorporates herein by reference the allegations set forth in

paragraphs 1 through 52.

       62.     Title VII prohibits an employer from subjecting an employee to a hostile work

environment created by persistent retaliatory actions taken against the employee for participating

in activity protected under the statute.

       63.     As referenced in paragraph 56, Defendant DOJ, through the actions of Ms.

Scherer, subjected Ms. Anderson to frequent and persistent retaliatory actions in the workplace

that were unwelcome and that which would have likely dissuaded a reasonable worker in Ms.

Anderson’s position from making or supporting a charge of discrimination.

       64.     Defendant DOJ, through the actions of Ms. Scherer, took the actions against Ms.

Anderson because she engaged in the protected activities referenced in paragraph 55.



                                           Page 13 of 15
         Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 14 of 15




       65.     Ms. Anderson’s multiple complaints to Defendant DOJ, Union representatives,

and the EEOC did not cause Ms. Scherer’s unlawful workplace conduct to cease.

       66.     Defendant DOJ’s conduct subjected Ms. Anderson to a retaliatory hostile work

environment that caused and continues to cause her substantial harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Anna Anderson respectfully request that the Court enter

judgment on the Complaint, in her favor and against Defendant DOJ, as follows:

       A.      Award Ms. Anderson appropriate amounts of back pay, in a fair and reasonable

amount to be determined at trial;

       B.      Reinstate Ms. Anderson in the same or substantial similar position with Defendant

DOJ, or in the alternative, award Ms. Anderson an appropriate amount of front pay, in a fair and

reasonable amount to be determined at trial;

       C.      Award Ms. Anderson compensatory damages for the harm she suffered as a result

of Defendant DOJ’s conduct, in fair and reasonable amount to be determined at trial;

       D.      Award Ms. Anderson pre-judgment interest and post-judgment interest;

       E.      Award Ms. Anderson the costs and fees she incurred in connection with this

action, including reasonable attorneys’ fees; and

       F.      Grant Ms. Anderson such other relief as the Court deems just and proper,

including injunctive and declaratory relief as may be required in the interest of justice.

\\

\\

\\

\\



                                           Page 14 of 15
 Case 1:23-cv-02674-MAU Document 1 Filed 09/12/23 Page 15 of 15




Dated: September 12, 2023

                                              Respectfully submitted,

                                              /s/ Jordan D. Howlette
                                              JORDAN D. HOWLETTE
                                              DC Bar No.: 155982
                                              Managing Attorney
                                              JD Howlette Law
                                              1140 3rd St. NE
                                              Washington, DC 20002
                                              Tel: (202) 921-6005
                                              Fax: (202) 921-7102
                                              jordan@jdhowlettelaw.com
                                              Counsel for Plaintiff




                            Page 15 of 15
